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December 31, 2019
                                                                                         Jonathan R. Barr
                                                                                         direct dial: 202.861.1534
                                                                                         jbarr@bakerlaw.com
VIA ECF
                                                                                 1/2/2020
Honorable Vernon S. Broderick
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:      United States v. Christopher Collins, et al., No. 18-cr-567 (VSB)

Dear Judge Broderick:

         We are counsel to defendant Christopher Collins and write to request permission to
redact certain material contained in letters that we anticipate filing as an exhibit to Mr. Collins’
Sentencing Memorandum. Specifically, a number of letters contain the writers’ personal email
addresses and telephone numbers and we respectfully request permission to redact that
information.1 We believe that redacting contact information of this nature is consistent with the
spirit of the Court’s Privacy policy.

         We have conferred with counsel for the Government, who have no objection to this
request. We will, of course, provide the Court and the Government unredacted copies of the
letters.

Sincerely,

/s/ Jonathan R. Barr

Jonathan R. Barr

cc: All Counsel of Record (via ECF)



1
 We will also redact the five categories of sensitive information and six categories of information requiring caution
as detailed in the Southern District of New York Privacy Policy.
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Honorable Vernon S. Broderick
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SO ORDERED:

Dated:       New York, New York
             January __, 2020                   ______________________________
                                                VERNON S. BRODERICK, U.S.D.J.
